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AN]) MAl`Ll'NG AI)I)RESS

Scht)ll, Michaei E

8 South Third St

4th Flot)r

Memphis TN 38|103

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14. NAME l\ND MA]L]NG ADDRESS GF l.AW FlRM tnll|y provide per il\:~trtlt‘t'tolls]

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Other than from the courL have you, or to your knowledge has anyone else, received pnynienl
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l swear or affirm the truth or correctness of the above statements

Signature ul' Attorney-.

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UNITED STATE DISTRIC COURT - WTERN D'S'TRCT OFTENNESSEE

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Honorable J on McCalla
US DISTRICT COURT

